           Case 1:19-vv-00356-UNJ Document 30 Filed 05/29/20 Page 1 of 2




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-356V
                                         UNPUBLISHED


    PATRICK HANSEN,                                           Chief Special Master Corcoran

                         Petitioner,                          Filed: April 28, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Guillain-Barre Syndrome (GBS)
                        Respondent.


Randall G. Knutson, Knutson & Casey Law Firm, PC, Mankato, MN, for petitioner.

Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for respondent.


                                    RULING ON ENTITLEMENT 1


       On March 8, 2019, Patrick Hansen filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (“GBS”) as
a result of his November 13, 2013 influenza (“flu”) vaccination. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

       On April 24, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
        Case 1:19-vv-00356-UNJ Document 30 Filed 05/29/20 Page 2 of 2




at 8. Specifically, Respondent indicates that

      petitioner has alleged that the flu vaccine caused his GBS. Medical
      personnel at DICP have reviewed the petition and medical record
      evidence filed in this case. It is respondent’s position that petitioner has
      satisfied the criteria set forth in the Table and the Qualifications and Aids
      to Interpretation (“QAI”). See 42 C.F.R. §§ 100.3(a)(XIV), 100.3(c)(15).

Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




                                             2
